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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION

   JULIAN FERNAU, FERNANDO
   MATEU, AND MARIA DOLORES
   DE LUCAS,

          Plaintiffs,

     v.
                                                  CASE NO. 1:18-cv-20866-RNS
   ENCHANTE BEAUTY PRODUCTS,
   INC., RAUL LAMUS, AND MARIA
   FERNANDA REY,

          Defendants.


      RESPONSE TO DEFENDANTS’ OBJECTIONS TO MAGISTRATE
                REPORT AND RECOMMENDATIONS

          COME NOW, Plaintiffs, Julian Fernau, Fernando Mateu, and Maria Dolores

  de Lucas and file their Response to Defendants’ Objections to Magistrate

  McAliley’s Report and Recommendations [158], filed on March 25, 2020.

          1.    Plaintiffs have been diligent in pursuing their case and claims.

     Following the consummation of the investment fraud upon at least three

     separate Enchante shareholders in Miami, Mr. Lamus and his wife first fled to

     Spain and have since been purportedly last living in a hotel room in Dubai.

     Plaintiffs successfully served Mr. Lamus on July 27, 2018 pursuant to the

     Convention on the Service Abroad of Judicial and Extrajudicial Documents in
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      Civil or Commercial Matters. Dkt. No. 22. Service of process was effected on

      Mr. Lamus’ wife after what appeared to be attempts to evade service. See

      Motion for Alternate Service of Process, Dkt. No. 83. Mr. Lamus’ wife

      accepted service following briefing and oral argument on Plaintiffs’ motion.

      Order Following Discovery Hearing, Dkt. No. 96. There is and was no undue

      delay by Plaintiffs. The passage of time is customary with international service

      of process.

         2.     Although Mr. Lamus purports to represent Enchante Beauty Products,

      Inc. (“Enchante”), Plaintiffs formerly raised their concern that Lamus had not

      been legally authorized to act on behalf of the entity. Plaintiffs’ Motion to

      Strike, Dkt. No. 61. This is because Mr. Lamus was voted out of his managerial

      position by the board of directors and stripped of any authorization, following

      the board’s own concerns over Mr. Lamus’ consummation of fraud and

      breaches of fiduciary duty.1

         3.     As noted by Magistrate McAliley, the Court appropriately considered

      amendments made by Plaintiffs to conform with the evidence produced in

      discovery given: (1) the limited and clarifying nature of the amendments and

      (2) the lack of prejudice to Defendants. See Dkt. No. 155 at 5. Contrary to


  1
   See Minutes of Board Meeting (Aug. 30, 2017), Dkt. No. 61-1, and Minutes of the Special
  Meeting of the Board of Directors (January 3, 2018), Dkt. No. 61-2.
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     defense counsel’s unsupported representations, Plaintiffs have not changed their

     claims or the theory of their case, but rather clarified and narrowed some factual

     allegations. The case remains at the motion to dismiss stage and is early in

     discovery. Defendants will not be prejudiced in their preparation for trial. In

     fact, it is the taking of depositions by Defendants and Defendants’ production of

     documents days before taking some of those depositions that prompted the

     referenced amendments. Defendants further had an adequate opportunity to

     inquire as to the documents and information and examine the Plaintiffs

     regarding their substance.

        4.    Magistrate McAliley’s decision to entertain Defendants’ successive

     arguments on motions to dismiss and then to allow Plaintiffs’ leave to amend is

     a discretionary one and a decision that should not be disturbed. Defendants

     have been represented by three separate law firms since August 16, 2018. They

     raised successive pleading challenges in their motions to dismiss filed on

     August 24, 2018 [17], December 27, 2018 [57], and July 12, 2019 [115]. In

     their November 27, 2019 filing [140], Defendants first challenged the manner

     of pleading reliance and scienter. In turn, Magistrate McAliley conducted a

     futility analysis and determined that since the challenges were recently raised

     and that since Plaintiffs may be able to allege reliance and scienter with the

     required specificity, leave to amend is proper and should be given. See Dkt. 155
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     at 13-14. In summary, Magistrate McAliley made an equitable decision to

     entertain Defendants’ newfound arguments, but allow Plaintiffs an opportunity

     to respond to and address those new and additional pleading challenges. This

     practice appears to conform with the Court’s underlying policy to promote a

     resolution on the merits.

        5.    Defendants seek to (improperly) cite deposition transcripts in support

     of their Rule 12(b)(6) motion. See Response in Opposition to Defendants’

     Motion for Sanctions [126]. As noted in the response, the sanctions motion was

     premature and itself frivolous, thus warranting the imposition of sanctions upon

     defense counsel. Of relevance to this filing, Rule 11 motion practice is not an

     appropriate method to collaterally support a motion to dismiss, or objections to

     a magistrate’s ruling on a Rule 12(b)(6) motion, by introducing evidence. The

     “evidence” should not be considered understandably because the underlying

     motion is a challenge as a matter of law and accepts the well-pleaded

     allegations as true. Magistrate McAliley recognized this and declined to

     consider “cherry-picked portions of depositions.” Dkt. No. 155 at 14. Further,

     Plaintiffs have not yet had the opportunity to conduct their discovery and this

     one-sided evidentiary presentation is prejudicial.

        6.    On page six, Defendants frivolously argue that “Plaintiffs have not

     taken discovery to identify additional information pertinent to their claims and
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     thus any amendment must necessarily be based on facts already known to them

     when they filed this action.” This argument is irrational. Plaintiffs have not yet

     taken substantial discovery because this case remains at the motion to dismiss

     stage. Until the pleadings close, and answers, affirmative defenses, and

     counterclaims, if any, are presented, it would be foolish to take key party and

     witness depositions. It would therefore be unreasonable to impute knowledge

     that Plaintiffs will discover, following the close of the pleadings, at this juncture

     of the litigation and hold Plaintiffs to an evidentiary battle on a Rule 12(b)(6)

     motion. Instead, the proper time to present evidence is on summary judgment

     or at trial.

                                    CONCLUSION

        For the reasons cited herein, Defendants’ objections to Magistrate

  McAliley’s Report and Recommendations should be overruled.
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        Respectfully submitted this 6th day of April, 2020.



                                         /s/ Michael Stegawski
                                         Michael Stegawski
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                            CERTIFICATE OF SERVICE

         I hereby certify that on this 6th day of April, 2020, I electronically filed the
  within and foregoing with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se
  parties identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some
  other authorized manner for those counsel or parties who are not authorized to
  receive electronically Notice of Electronic Filing.

                                                /s/ Michael Stegawski
                                                Michael Stegawski, Esq.
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                                  SERVICE LIST
              Fernau, et. al, v. Enchante Beauty Products, Inc., et. al.
                           Case No. 1:18-cv-20866-RNS
              United States District Court, Southern District of Florida

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